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     5
    6                                UN ITED STA TES DISTR IC T CO UR T
     7                                       DISTRICT OF NEVADA

     8 UNITED STATESOFAMERICA,                         )
                                                       )
     9                          Plaintiff,             )
                                                       )
    10         v.                                      )         2:10-CR-104-GM N (LItL)
                                                       )
    11 CHARLESM OORE,                                  )
                                                       )
    12                          Defendant.             )
    13                           PRELIM INARY ORDER O F FORFEITURE
    14
              This Courttinds thaton Septem ber 8,2011,defendantCH AR LES M O ORE pled guilty to
    15
         CountsThree and FifteenofaNineteenCountCriminalIndictm entcharging him with distribution
    16
         of10.2 gramsand21.3gramsofam ixtureandsubstancecontainingaddectibleamountofcocaine
    17
         basc,inviolationofTitle21,UnitedStatesCode,Section 841(a)(1). .
    18
              ThisCourttindsdefendantCHARLES M OORE agreed to theforfeiture oftheproperty set
    19
         forth in ForfeitureAllegationsoftheCrim inallndictmentandthePleaAgreem ent.Docket# 1, # .
    20                                                                                              -
               ThisCourttinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),the United Statesof
    21
         America hasshown the requisitenexusbetween property setforth in theForfeiture Allegationsof
    22
         the Crim inalIndictm entand the PleaAgreementand the offense to which defendantCHARLES
    23
         M OO RE pled guilty.
    24
               The following assetsare subjectto forfeiture pursuantto Title21,United StatesCode,
    25
         Section 853(a)(1);andTitle21,UnitedStatesCode,Section853(a)(2):
    26
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e

     1          a.     $3,630.00 in United StatesCurrency;and                                             I
                                                                                                          I

     2          b.     a 1999 Black Lexus GS400,bearing California license 61+ V728,Vehicle ID            .

     3                 number(VlN).
                                  1-1-881468X8X0016655.
    4          This Courttindsthe United StatesofAmerica isnow entitled to,and should,reduce the

     5 aforementioned property to theposscssion oftheUnited StatesofAmerica.
     6         NOW THEREFORE,ITIS HEREBY ORDERED,ADJUDGED,AND DEf ltEED thatthe
     7 United StatesofAmerica should seizetheaforementioned property.

     8          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED aIlright,title,andinterestof
     9 CHARLES M OORE in theaforementioned property isforfeited and isvested intheUnited States
    10 ofAm ericaand shallbe safely held by the U nited StatesofAm erica untilfurtherorderofthe Court,

    1l          IT IS FURTHER ORDERED,ADJUDGED,AN D DECREED theUnited StatesofAmerica

    12 shallpublishforatIeastthirty(30)consecutivedaysontheofticialinternetgovemmentforfeiture
    13 website,wwm forfeiture.gov,noticeofthisOrder,which shalldescribetheforfeitedproperty,state

    14 thetim eundertheapplicablestatutewhen apetitioncontestingtheforfeituremustbeliled,and state
    15 the nam e and contact inform ation for the governm ent attorney to be senred w ith the petition,

    16 pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
    17          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED apetition,ifany,m ustbe
    18 filedwith the Clerk oftheCcmrt,333LasVegasBoulevard South,LasVegas,Nevada 89101.
    19          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopyofthepetitionsifany,

    20 shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney'sOflk e atthe
    21 follow ing addressatthe tim e offiling:

    22                 M ICHA EL A .H U M PHR EY S
                       AssistantUnited StatesAttorney
    23                 Lloyd D .G eorge United StatesCourthouse
                       333LasVegasBoulevard South,Suite 5000
    24                 LasV egas,N evada 89101
    25 ..,

    26 ..,
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 1         IT IS FU RTHER ORD ERED ,A DJU DG ED ,AN D D ECREED the notice described herein

 2 need notbepublished in the eventaDeclaration ofForfeitureisissued bytheappropriate agency
 3 following publicationofnoticeofseizureand intenttoadm inistratively forfeittheabove-described
 4 property.                                .

 5         DA TED this         day of                      ,2011.
 6
 7
 8                                              U NITED STA         STRICT JU DG E

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